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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                               :
HELEN L. MARTIN, Executrix of the              :   Civil Action
Estate of Robert D. Lenig, Deceased,           :
                                               :   C.A. No. 13-7645
                  Plaintiff,                   :
                                               :   ASBESTOS CASE
v.                                             :
                                               :
ALLEN-BRADLEY COMPANY, et al.,                 :
                                               :
                  Defendants.                  :


                                      REPLY IN SUPPORT OF
                                MOTION FOR SUMMARY JUDGMENT
                               OF DEFENDANT OWENS-ILLINOIS, INC.

        Defendant Owens-Illinois, Inc. (“O-I”) hereby submits this Reply in support of its motion

for summary judgment (the “Motion”).

I.      INTRODUCTION

        Plaintiff has not responded to O-I’s Motion for Summary Judgment with evidence from

anyone with personal knowledge that Plaintiff’s decedent, Robert D. Lenig, was exposed to

asbestos from pipe insulation manufactured by O-I. Instead, Plaintiff relies on the deposition

testimony of Kenneth Prevish and an affidavit from Arthur Faherty in an unsuccessful attempt to

defeat the Motion. Plaintiff does so while conceding that Mr. Prevish did not work with Mr.

Lenig; has never met Mr. Lenig; and did not know what Mr. Lenig’s duties were onboard the

U.S.S. Tarawa. (Motion at ¶¶ 12-13; Answer at ¶¶ 12-13). Accordingly, Mr. Prevish does not

know if Mr. Lenig was present for the installation or removal of asbestos-containing pipe

insulation manufactured by O-I. Likewise, Mr. Faherty does not know Mr. Lenig or have any

personal knowledge concerning Mr. Lenig’s purported exposure to asbestos-containing products.



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Mr. Faherty did not serve aboard the U.S.S. Tarawa, and his Affidavit is based on a reading of

sixty-year-old naval records that fail to place Mr. Lenig at the scene of the installation or

removal of a single asbestos-containing product (Ans. Br. at Exh. G). Mr. Faherty’s failure to

reference O-I in his Affidavit is striking as well as indicative of the lack of probative value that

the Affidavit commands. Id.

        Despite these evidentiary failures, Plaintiff opposes the Motion based on the factually

erroneous position that O-I pipe insulation was the only type of pipe insulation aboard the U.S.S.

Tarawa, and, thus, Mr. Lenig could not have avoided exposure to O-I’s product. Mr. Prevish’s

testimony that Johns Manville pipe insulation was also used during the retrofit cuts down this

argument in its tracks. See 6/20/12 deposition testimony of Kenneth Prevish attached hereto as

Exh. H at 118:3-13; Exh. C to Motion at 24:22 – 25:10 and 7/16/14 deposition testimony of

Kenneth Prevish attached hereto as Exh. I at 37:18-24. Mr. Prevish did not, as Plaintiff claims,

testify that only O-I pipe covering was used on the Tarawa. Rather, Mr. Prevish testified that

Johns Manville pipe covering also was used. Regardless, neither Mr. Prevish nor Mr. Faherty

could establish Mr. Lenig’s presence during a single repair of pipe insulation on the ship, let

alone pipe insulation manufactured by O-I. Plaintiff has failed to meet her evidentiary burden,

and her opposition to the Motion rests on pure speculation. Speculation does not provide a basis

for a finding of liability, and, therefore, this Court should enter judgment in favor of O-I as a

matter of law.




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II.     ARGUMENT

        A.        Plaintiff misrepresents the record concerning the presence of
                  preformed pipe insulation manufactured by Johns Manville aboard
                  the U.S.S. Tarawa.

        Plaintiff bases her opposition to the Motion on a factually erroneous premise: that pipe

insulation manufactured by O-I was the only type of pipe insulation aboard the U.S.S. Tarawa.

This assertion is patently false, and directly contradicted by Plaintiff’s own witness, Mr. Prevish.

Mr. Prevish testified not once, but twice that the U.S. Navy used preformed pipe insulation

manufactured by Johns Manville during the retrofit of the U.S.S. Tarawa. In 2012, Mr. Prevish

testified in his asbestos lawsuit concerning his own use of Johns Manville preformed pipe

insulation aboard the U.S.S. Tarawa:

        Q. Do you remember ever seeing any pipe insulation material, the preformed

             material, by Johns Manville?

        A. Yes.

        Q. Would you have seen that when the ship was in port, at sea or both?

        A. I seen that in port.

        Q. Did you ever personally use any preformed pipe material that was made by Johns

             Manville?

        A. A little bit.

See Exh. H hereto at 118:3-13. In 2014, testifying on behalf of Mr. Lenig, he corroborated his

prior testimony concerning the use of preformed pipe insulation manufactured by Johns Manville

during the retrofit:




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        Q. Mr. Prevish, do you recall telling me that in addition to the Owens-type insulation

             material, that you also saw Johns-Manville insulation:

        A. Yes.

        Q. -- onboard the ship?

             Do you know specifically where the Johns-Manville insulation was used onboard

             the Tarawa during that overhaul –

        A. On the pipes too.

        Q. -- in Boston?

             I’m sorry?

        A. It was used on the pipes too.

See Exh. C to Motion at 24:22 – 25:10 and Exhibit I hereto at 37:18-24. Plaintiff may not distort

the record or cherry-pick misleading fragments of deposition testimony in order to raise an issue

of material fact where none exists. A review of the full record indicates that pipe insulation

manufactured by Johns Manville was used aboard the U.S.S. Tarawa during the retrofit,

including by Mr. Prevish himself. Accordingly, Plaintiff’s claim that Mr. Lenig could only have

been exposed to pipe covering manufactured by O-I is flatly contradicted by the record. Even

assuming that Mr. Lenig was exposed to asbestos-containing pipe covering – a fact that itself is

unsupported by the record – Plaintiff cannot establish who made that pipe covering. Therefore,

the Court should grant summary judgment as a matter of law.

        B.        The Faherty Affidavit fails to provide information specific to O-I, Mr.
                  Lenig, or Mr. Lenig’s alleged exposure to asbestos-containing pipe
                  insulation.

        Plaintiff grossly inflates the probative value of the Affidavit of her expert, Arthur W.

Faherty, concerning Mr. Lenig’s alleged exposure to asbestos-containing products aboard the




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U.S.S. Tarawa. Mr. Faherty does not know Mr. Lenig and he did not serve aboard the U.S.S.

Tarawa. This lack of personal knowledge is evident in an affidavit that is probative of nothing,

and in which Mr. Faherty referenced Mr. Lenig only once by name; ignored O-I altogether; and

failed to conclude that Mr. Lenig suffered actual exposure to an asbestos-containing product

(Ans. Br. at Exh. G).

        The Faherty Affidavit is more noteworthy for the information that it omits, rather than

includes. Specifically, Mr. Faherty failed to even address any of the following relevant facts:

        •    Mr. Lenig’s responsibilities in relation to the retrofit of the ship;

        •    Mr. Lenig’s location during the retrofit of the ship;

        •    The name of the manufacturer of any product aboard the ship;

        •    The presence of preformed, pipe insulation manufactured by O-I aboard the ship;

        •    The absence of another manufacturer’s preformed, pipe insulation aboard the ship;

        •    The date and location aboard the ship where pipe insulation was purportedly removed
             or installed;

        •    The manufacturer of the pipe insulation that was purportedly removed from or
             installed on the ship;

        •    Mr. Lenig’s location in relation to the purported removal or installation of pipe
             insulation;

        •    The purported presence of asbestos-containing products aboard the ship, including
             asbestos-containing pipe insulation; and

        •    Whether Mr. Lenig was exposed to asbestos from the purported removal or
             installation of pipe covering aboard the ship.

(Ans. Br. at Exh. G). Mr. Faherty cannot attest that Mr. Lenig was exposed to asbestos-

containing pipe insulation manufactured by O-I, and cognizant of this shortcoming, he does not

make the critical connection in the Affidavit. Id.




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        Despite these gaping omissions, Plaintiff cites to paragraphs 17-28 of the Affidavit in an

attempt to derail summary judgment. These paragraphs state nothing more than that Mr. Lenig

was a yeoman assigned to the U.S.S. Tarawa from 1952 to 1956, and that the ship underwent

repairs for two of those years. Mr. Faherty also attested that certain command areas and

equipment were relocated within the ship, and certain spaces were refurbished. The Affidavit

fails, however, to explain whether Mr. Lenig was assigned to the command areas that were

relocated; if Mr. Lenig worked in the areas that were refurbished, and if so, whether he was

present at the time of refurbishment; or what the refurbishment entailed. The Affidavit fails to

provide any information which places Mr. Lenig in a specific location at a specific time during a

specific repair to establish his exposure to an asbestos-containing product, much less a product

manufactured or sold by O-I.

        In short, Mr. Faherty provides no more than “generalized” knowledge based on

inadmissible hearsay concerning the practices of the U.S. Navy, thereby illustrating the inherent

weakness of the Affidavit. The Affidavit is vague and akin to a form document such that any

plaintiff could file the Affidavit – without revision – in any asbestos action (pending before any

court) involving allegations of naval exposure.1 Aside for a few paragraphs, the Affidavit fails to

include case-specific information, and those isolated paragraphs which concern this case do not

establish Mr. Lenig’s exposure to the asbestos-containing products of any manufacturer,

including O-I (Ans. Br. at Exh. G). Plaintiff hopes that paragraph 27 of the Affidavit will cover

1
 The Affidavit does not corroborate the Prevish Testimony (Ans. Br. at p. 5). In fact, there is no
overlap between the Prevish Testimony and the Affidavit. Mr. Prevish did not board the U.S.S.
Tarawa until the final four weeks of the retrofit (Exh. C to Motion at 14:17 – 15:5; Exh. D to
Motion at 60:25 – 61:6), and he testified that the majority of the repairs had already been
completed (Exh. C to Motion at 15:3-5). Further, Mr. Prevish worked exclusively within the
boiler room (Exh. B to Motion at 20:3-7; Exh. C to Motion at 18:13-18). Meanwhile, the
Affidavit makes no reference to time, and it fails to discuss any repairs within the boiler room
(Ans. Br. at Exh. G).


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the gaping holes in its case – “It is more likely than not that during this work period in Boston,

asbestos dust from the deck covering removal and from electrical and piping removal was

created in the work and living spaces” – but the conclusory sentence is representative of Mr.

Faherty’s generic and uninformed opinion, in which he fails to (1) connect Mr. Lenig to these

repairs or otherwise place him at the scene of the these repairs; or (2) establish that such repairs

included asbestos-containing pipe insulation manufactured by O-I. Id. at ¶ 27. In sum, the

Affidavit fails to create a genuine issue of material fact, and thus, this Court should enter

judgment in favor of O-I as a matter of law.

        C.        No reasonable juror could conclude that Mr. Lenig was exposed to an
                  asbestos-containing product manufactured by O-I.

        1.        Plaintiff Failed To Provide Grounds For Why The Court Should Not
                  Apply Maritime Law.2

        Plaintiff’s allegations of exposure to asbestos-containing products aboard the U.S.S.

Tarawa warrant the application of maritime law. Plaintiff contests the application of maritime

law, and he requests a remand of the case to Pennsylvania state court. This Court previously

dispensed with Plaintiff’s arguments when it denied Plaintiff’s Motion to Reconsider Application

of Maritime Law. See ECF No. 174.

        2.        Plaintiff Failed To Establish A Prima Facie Case Under Maritime Law.

        Summary judgment is warranted where the plaintiff fails to articulate a basis – grounded

in fact and not speculation or innuendo – for establishing exposure to asbestos. See, e.g., Hilt v.

Foster Wheeler, LLC, et al., C.A. No. 2:11-66723-ER, slip op at 7 (E.D. Pa. Jan. 28, 2014)

2
 Plaintiff incorrectly states that O-I stipulated to the application of Pennsylvania law (Ans. Br. at
p. 3 fn 1). O-I did not stipulate to the application of Pennsylvania law, or argue for the
application of Massachusetts law. O-I correctly observed that the under the facts alleged by
Plaintiff, the case is governed by maritime law. O-I presented an analysis of Pennsylvania and
Massachusetts law solely to demonstrate that under any law that Plaintiff might argue, the result
would be the same: summary judgment in favor of O-I.


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(applying maritime law); Hall v. A.W. Chesterton Co., et al., C.A. No. 2:11-66335-ER, slip op at

7 (E.D. Pa. May 7, 2013) (same); Hagen v. Benjamin Foster Co., et al., C.A. No. 2:07-63346-

ER, slip op at 7 (E.D. Pa. Oct. 12, 2012) (same); Cardaro v. AeroJet Gen. Corp., et al., C.A. No.

2:11-66763-ER, slip op at 7-9, 11 (E.D. Pa. July 26, 2012) (same); Taylor v. Foster Wheeler,

LLC, et al., C.A. No. 2:10-80824-ER, slip op at 10 (E.D. Pa. July 2, 2012) (same).

        Here, Plaintiff contends that O-I Kaylo pipe insulation was the only type of pipe

insulation aboard the U.S.S. Tarawa, and thus, Mr. Lenig had to come into contact with the

product. But Plaintiff’s own evidence demonstrates otherwise. Mr. Prevish testified that Johns

Manville pipe insulation also was used onboard the U.S.S. Tarawa. Accordingly, Plaintiff has

shown “no evidence that [the plaintiff] was exposed to respirable asbestos from (or used in

connection with) a [product] manufactured or supplied by [the defendant] ... [or] evidence that

any asbestos to which he was exposed in connection with any product was from an asbestos-

containing component part manufactured or supplied by [the defendant].” Hagen, C.A. No.

2:07-63346-ER, slip op at 7. It is well established that “[a] mere showing that defendant’s

product was present somewhere at plaintiff’s place of work is insufficient.” Hall, C.A. No.

2:11-66335-ER, slip op at 5. Thus, Plaintiff’s argument is without merit.

        This Court has rejected as speculative the precise argument asserted by Plaintiff: that Mr.

Lenig could not have avoided exposure to asbestos dust. In Taylor, the plaintiff’s expert opined

that the plaintiff “would have necessarily inhaled asbestos dust from the [defendant’s product].”

Taylor, C.A. No. 2:10-80824-ER, slip op at 10. This Court did not find the testimony probative,

concluding that “there [was] no evidence from anyone with personal knowledge as to whether

[the plaintiff] inhaled asbestos dust from original insulation installed (i.e., supplied) by [the

defendant, and thus,] [t]he opinion of [p]laintiff’s expert ... is impermissibly speculative.” Id.




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Similarly, in Hilt, the plaintiff’s expert testified that it was “virtually impossible” that the

plaintiff, by virtue of his presence aboard the ship, was not exposed to respirable asbestos from

the defendant’s product. See Hilt, C.A. No. 2:11-66723-ER, slip op at 6. As in Taylor, the Hilt

Court granted the defendant’s motion for summary judgment, finding the expert’s testimony

“insufficient” under maritime law. Id. at 7.

        Plaintiff also alleges that Mr. Lenig suffered substantial exposure to pipe insulation

manufactured by O-I, because “there is no other exposure in [Mr. Lenig’s] life except to Owens

Illinois over several months” (Ans. Br. at p. 10). Substantial exposure requires proof of

plaintiff’s exposure to a defendant’s product “for some length of time.” Taylor, C.A. No. 2:10-

80824-ER, slip op at 5 (“Substantial factor causation is determined with respect to each

defendant separately.”). Here, Plaintiff has offered no evidence of Mr. Lenig’s exposure to pipe

insulation manufactured by O-I. At the same time, there is abundant testimony from Mr. Prevish

concerning the presence of numerous other asbestos-containing products aboard the U.S.S.

Tarawa.3 Even if Mr. Lenig was present for the repair of pipe insulation – which Plaintiff cannot

demonstrate – the record fails to show (1) the number of repairs in which he was present; and (2)

the length of such repairs. Further, there is no indication that O-I manufactured the pipe

insulation that was removed or installed. The naval records offered in support of Plaintiff’s

position are silent on the matter (Ans. Br. at Exh. B), and Mr. Faherty did not reference a single

manufacturer in his affidavit (Ans. Br. at Exh. G).




3
  See 6/20/12 trial testimony of Kenneth Prevish attached hereto as Exh. J at 41:9 – 42:20 (pipe
insulation); Exh. J at 41:9 – 42:20 (cement); Exh. J at 43:4-23 (rope); Exh. J at 46:4 – 47:7,
47:16 – 49:9, 55:21 – 56:21 (gaskets).


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III.    CONCLUSION

        For the foregoing reasons, defendant Owens-Illinois, Inc. respectfully requests that this

Honorable Court enter judgment in its favor as a matter of law.

                                                     Respectfully submitted,

                                                     McCARTER & ENGLISH, LLP

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